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                  minuteUnited States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
CLERK                                                           600 S. MAESTRI PLACE,
                                                                        Suite 115
                                                               NEW ORLEANS, LA 70130

                             December 21, 2023

#03260-180
Ms. Priscilla Ann Ellis-Erkkila
FCI Dublin
5701 8th Street Camp Parks
Dublin, CA 94568-0000

       No. 23-50648      Ellis-Erkkila v. Citibank
                         USDC No. 6:20-CV-1039


Dear Ms. Ellis-Erkkila,
Appellant’s Brief Required by Fed. R. App. P. and 5th Cir. R. 28
Your appellant’s brief is due for filing within forty (40) days
from the date of this notice.
The court knows you are not a lawyer and does not hold you to the
same standards it requires of attorneys in stating your case. The
court reviews the case on the record of the district court
proceedings and on the briefs filed by the parties. Therefore,
your brief should explain as briefly and plainly as possible the
facts of the case, the issues of law that you think entitle you to
relief, and the relief you are asking.    To assist you in writing
your brief please see below.
A.    FORMAT AND NUMBER OF COPIES:
     1. Use 8 1/2 x 11 inch light colored paper, preferably white;
     2. Make a 1 inch margin on the top, bottom and both sides of
        the pages;
     3. Securely fasten the brief so pages do not fall out, and so
        the pages can be read when the brief is opened;
     4. Send us 4 copies of your brief.
B.    CONTENTS:
Your brief should include the following:
     1. a STATEMENT OF THE LEGAL ISSUES you think the court should
        decide;
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     2. a concise STATEMENT OF THE CASE setting out the facts
        relevant to the issues submitted for review;
     3. an ARGUMENT telling why the court should decide for you.
        Give legal authority which supports your side of the case.
        For each legal issue, try to include the "standard of review"
        this court should use in deciding your case. The "standard
        of review" may be included either under a separate heading
        before the discussion of each issue or in the discussion of
        the issue;
     4. a CONCLUSION giving a brief statement of the relief you want
        and why.
     5. a CERTIFICATE OF COMPLIANCE confirming the page or word count
        is within the type-volume rule limitations. Such briefs,
        whether typed or handwritten, must not exceed 30 pages (not
        counting any statement regarding oral argument, and the
        certificates of service and compliance). For computer
        prepared briefs, the computer’s word count feature should be
        used. Do not count the words yourself. You may use the
        "text line" method for typewritten briefs to show you meet
        the type-volume limits.     Typewritten briefs with proper
        margins, (as described above), typeface with at least 10 1/2
        characters per inch, and double spacing should have no more
        than 26 lines of text per page. Handwritten briefs must be
        legible and follow the same type-volume limitations in
        accordance with Fed. R. App. P. 32. Any handwritten or typed
        brief exceeding the page limit must be accompanied by a
        motion seeking leave of court to exceed the page limit.
        Motions to exceed the page limitation MUST contain
        COMPELLING REASONS.
C.    CERTIFICATE OF SERVICE.
       Your brief MUST CONTAIN a certificate of service showing the
       date you mailed a copy of your brief to the other parties in
       the case, and giving the name and complete mailing address
       (street number or post office box number, city and state) of
       the person you sent your brief to.
D.    PENALTIES.
       If you do not mail 4 copies of your brief to us within 40
       days of the date shown on this letter, or properly request an
       extension of time, we will dismiss your case without further
       notice, see 5th Cir. R. 42.3. Note, 5th Cir. R. 31 and the
       Internal Operating Procedures following rules 27 and 31
       provides the general sense of the court on the disposition of
       a variety of matters, which includes that except in the most
       extraordinary circumstances, the maximum extension for filing
       briefs is 30 days in criminal cases and 40 days in civil
       cases.

Pro se prisoners may request the record from the district court to
prepare their briefs. If requested, the record will be sent to
the warden.
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Appellee’s Brief
The appellee is allowed 30 days from the date of service of your
brief to file a response. The appellee’s brief may be in letter or
memorandum form but must provide a concise statement of the case
setting out the facts relevant to the issues raised and provide
record and legal authority citations. If this court has granted
COA, then an appellee’s brief will be due 30 days from the date of
service of appellant’s brief.    If the district court denied In
Forma Pauperis status and certified that the appeal is not taken
in good faith, or if a defendant or respondent did not make an
appearance previously, the appellee does not need to file a brief,
unless the court notifies the appellee to do so. We will send you
a copy of the notice.
Important notice regarding citations to the record on appeal to
comply with the recent amendment to 5th Cir. R. 28.2.2.
Parties are directed to use the new ROA citation format in 5th
Cir. R. 28.2.2 only for electronic records on appeal with
pagination that includes the case number followed by a page number,
in the format "YY-NNNNN.###". In single record cases, the party
will use the shorthand "ROA.###" to identify the page of the record
referenced.   For multi-record cases, the parties will have to
identify which record is cited by using the entire format (for
example, ROA.YY-NNNNN.###).
Parties may not use the new citation formats for USCA5 paginated
records. For those records, parties must cite to the record using
the USCA5 volume and or page number.
In cases with both pagination formats, parties must use the
citation format corresponding to the type of record cited.
Explanation: In 2013, the court adopted the Electronic Record on
Appeal (EROA) as the official record on appeal for all cases in
which the district court created the record on appeal on or after
4 August 2013. Records on appeal created on or after that date
are paginated using the format YY-NNNNN.###. The records on appeal
in some cases contain both new and old pagination formats,
requiring us to adopt the procedures above until fully transitioned
to the EROA.
The recent amendment to 5th Cir. R. 28.2.2 was adopted to permit
a court developed computer program to automatically insert
hyperlinks into briefs and other documents citing new EROA records
using the new pagination format. This program provides judges a
ready link to pages in the EROA cited by parties.       The court
intended the new citation format for use only with records using
the new EROA pagination format, but the Clerk’s Office failed to
explain this limitation in earlier announcements.
Reply Brief
You have 21 days from the date the appellee’s brief is filed to
file a reply brief. However, you are not required to file a reply
brief.
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ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.    An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.
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                                 Sincerely,
                                 LYLE W. CAYCE, Clerk

                                 By: _________________________
                                 Casey A. Sullivan, Deputy Clerk
                                 504-310-7642
cc:
      Ms. Brittney Angelich
      Mr. Daniel Avila II
      Mr. Joshua Benjamin Baker
      Mr. Gene R. Besen
      Mr. James Matthew Dow
      Ms. Mary Mangan
      Mr. Kevin Ward Patton
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

                                _________

                           Case No. 23-50648
                                _________

Priscilla Ann Ellis-Erkkila, true name Priscilla Ann Ellis,
                       Plaintiff - Appellant
v.
Citibank; JP Morgan Chase; BB&T Bank; Regions Bank; Capital One,
                       Defendants - Appellees
